Case 20-21436-SLM             Doc 116      Filed 01/25/21 Entered 01/25/21 19:37:42         Desc Main
                                          Document      Page 1 of 4



  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-2(c)

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  Unsecured Creditors
                                                         Case No.: 20-21436
  In re:                                                 (Jointly administered)


  SITO MOBILE SOLUTIONS, INC.,                           Chapter 11
                                                         Hearing Date: 2/2/2021 at 11:00 a.m. ET
                                      Debtor.            Judge: Honorable Stacey L. Meisel
                                                         Re:      DI 107



                    STATEMENT OF THE OFFICIAL COMMITTEE
                OF UNSECURED CREDITORS ON THE MOTION OF THE
            DEBTORS FOR ENTRY OF AN ORDER EXTENDING EXCLUSIVITY

           The Official Committee of Unsecured Creditors (the “Committee”) of SITO Mobile

 Solutions, Inc. and its affiliated debtors and debtors in possession (collectively, the “Debtors”)

 submits this response (the “Response”) to the Debtors’ motion for entry of order extending

 exclusivity [Docket No. 107] (the “Motion”). In support of this Response, the Committee

 respectfully states as follows:

                                                    RESPONSE

           1.       The Debtors are correct to point out that these cases were only three months old as

 of the filing of the Motion, and while the Debtors have requested a fittingly limited extension of


 141275-0001/151076292.5
Case 20-21436-SLM            Doc 116    Filed 01/25/21 Entered 01/25/21 19:37:42            Desc Main
                                       Document      Page 2 of 4



 exclusivity, the Committee has serious concerns regarding the Debtors’ ability to reorganize as a

 viable go-forward business. In order to maintain their exclusive right to propose a plan, the

 Debtors must make productive use of the remaining “breathing spell” provided by chapter 11 and

 demonstrate a serious commitment to maximizing their Estates’ assets for the benefit of their

 creditors.

          2.        Since the start of the case, the Debtors have struggled to demonstrate a

 going-concern business purpose. The Debtors have stated that their historic business model WAS

 no longer viable as a result of increased competition and technology changes in their sector. For

 the first few months of this case, the Debtors have professed that a pivot to a new, decentralized

 business model was possible, and that patent infringement litigation would provide substantial

 cash recoveries to fund both new operations and creditor recoveries.             In response to the

 Committee’s inquiries on each of these fronts, the Debtors have responded, in broad strokes, that

 they intended to remain cash flow positive through a possible combination of achieving

 profitability under their business plan, settling or otherwise monetizing their infringement lawsuits,

 and (possibly) securing an additional round of financing.

          3.        The outcome of the Debtors’ new business operations has yet to be ascertained, but

 the Debtors have stated that numerous new contracts are in their “pipeline” rapidly progressing

 toward revenue generation, with the first new receivable from 2021 budgeted for March 15, 2021.

 The problem with these projections is that the Debtors have to date failed to provide the Committee

 with evidence that would support an inference that their new operations are viable. As ordered by

 the Second Interim Order Authorizing Post-Petition Financing (the “Second DIP Order”) [Docket

 No. 99], Debtors are required to provide the Committee with bi-weekly reporting describing any

 budget variances and any revisions to the status of the pipeline contracts. ¶5 (“Every two (2) weeks,



                                                   -2-
 141275-0001/151076292.5
Case 20-21436-SLM            Doc 116    Filed 01/25/21 Entered 01/25/21 19:37:42             Desc Main
                                       Document      Page 3 of 4



 beginning from the date of entry of this Second Interim Order, the Debtors shall provide the

 Unsecured Creditors Committee with a report on: (i) any budget variances; and (ii) revisions to

 the status of the pipeline contracts.”). The Committee has requested, but not yet received any

 formal reporting, and has been forced to rely on the Debtors’ informal updates regarding their

 progress. The Committee, while mindful of the challenges of operating as a debtor-in-possession,

 can only place limited credence on the Debtors’ unsupported statements. During any extended

 exclusivity period, the Committee expects Debtors to convincingly demonstrate the viability of

 their new business plan by converting their pipeline contracts into real revenue and to provide the

 Committee with the reporting required by the Second DIP Order.

          4.        The Debtors also continue to place significant weight on their ability to monetize

 the patent infringement lawsuits. While Debtors have consistently maintained that there is

 significant value in their patent portfolio, litigation outcomes are uncertain and expected to be

 remote in time. Furthermore, the Committee and Debtors are far from reaching an accord on how

 potential litigation recoveries would be distributed among the Debtors’ estates.

          5.        Based on the Budget filed as Exhibit A to the Second DIP Order, the Debtors will

 only remain cash flow positive through the week of March 1, 2021, barring additional financing

 efforts, none of which are assured to bear fruit. To the Committee’s knowledge, the Debtors have

 not initiated negotiations with their current DIP Lenders for additional financing or sought other

 financing alternatives, instead seeming to prefer the ad hoc manner in which they have secured

 financing for their cases thus far.

          6.        Accordingly, while the Committee is open to a short extension of exclusivity at this

 time and remains open to working with the Debtors on a possible consensual plan of

 reorganization, the Committee is concerned about the Debtors’ ability to remain administratively



                                                    -3-
 141275-0001/151076292.5
Case 20-21436-SLM           Doc 116    Filed 01/25/21 Entered 01/25/21 19:37:42               Desc Main
                                      Document      Page 4 of 4



 solvent, successfully emerge from chapter 11, and/or to demonstrate that further extensions of

 exclusivity may be warranted. Furthermore, if the Debtors begin dissipating estate assets through

 unprofitable operations, the Committee may be forced to seek termination of exclusivity for cause

 or to seek other actionable alternatives in order to conserve the estates’ assets for the benefit of the

 unsecured creditors.

                                    RESERVATION OF RIGHTS

          7.        Nothing contained herein shall constitute a waiver of the Committee’s rights or

 remedies under the Bankruptcy Code or applicable law, including without limitation, the right to

 seek termination of exclusivity earlier than the Debtors’ requested extension.

                                            CONCLUSION

          WHEREFORE, the Committee respectfully requests that, to the extent the Bankruptcy

 Court grants the relief requested in the Motion, that it concurrently establish deadlines to compel

 the Debtors to advance towards a viable exit-plan, including possibly setting forth deadlines for

 filing a disclosure statement and plan in these chapter 11 cases, and that it grant such other relief

 as the Bankruptcy Court deems appropriate under the circumstances.



  Date: January 25, 2021                 By: /s/ Gary F. Eisenberg
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                                                  -4-
 141275-0001/151076292.5
